      Case 4:18-cv-04237 Document 24-1 Filed on 05/10/19 in TXSD Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


3 KINGZ SEAFOODS, LLC                              §
                Plaintiff,                         §
                                                   §      Civil Action No. 4:18-cv-04237
vs.                                                §
                                                   §      Jury Demanded
TONIQUE CLAY, KWAYLON ROGERS                       §
and 3 KINGZ SEAFOODS, LLC                          §
                 Defendants.                       §


                                             ORDER


        Came to be considered the AGREED MOTION TO DISMISS WITH PREJUDICE in the

captioned case. This Court, having considered the motion, any arguments presented by any of the

parties, and applicable authority, is of the opinion that the motion should be GRANTED. It is,

therefore:

        ORDERED that all causes of action brought by the Plaintiff 3 Kingz Seafood, LLC

against the Defendants in the above-entitled and numbered action are hereby DISMISSED, with

prejudice, and without costs or disbursements to either party.

SIGNED on this _____ day of _______________________, 2019.


                                                       ____________________________________
                                                       Lee H. Rosenthal
                                                       Chief United States District Judge
